        Case 1:17-cv-00365-LY Document 164 Filed 09/05/18 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,

              Plaintiffs,

vs.
                                                    No.   1   :17-cv-00365-LY
GRANDE COMMUNICATIONS
NETWORKS LLC,

              Defendant.


ORDER GRANTING UNOPPOSED MOTION FOR LEAVE TO EXTEND PAGE LIMIT

       Having considered Grande Communications Networks LLC's ("Grande") Unopposed

Motion for Leave to Extend Page Limit for its Motion for Sanctions and to Exclude Documents

Produced after the Fact Discovery Deadline, the Court finds good cause that the Motion should

be GRANTED and directs the Clerk to accept Grande's Motion for Sanctions and to Exclude

Documents Produced after the Fact Discovery Deadline.


       SoORDEREDt               ay                   ,2018.




                                                                BLEE'
                                                   UNITED STATES DISTRICT JUDGE




                                               1
